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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION


UNITED STATES OF AMERICA

vs.                                  NO.   4:10CR00266-002 SWW

LASCHELLE PATTON


                                     ORDER

      The above-named defendant, was sentenced on November 21, 2011 in the United

States District Court for the Eastern District of Arkansas.       The Court directed

the defendant to participate in a residential substance abuse treatment program

followed by chem-free living as a condition of her probation. The Court has been

advised that a chem-free living program is not available in the Jonesboro area.

The probation office advises that she could be placed in outpatient treatment

following her residential treatment program.        The Court finds that to be

acceptable.

      IT IS THEREFORE ORDERED that condition number one (1) of the Additional

Probation Terms in the defendant’s Judgment and Commitment shall be modified as

follows:

      1. The defendant shall participate in a residential re-entry center to be
      followed by placement in an outpatient substance abuse treatment program
      under the guidance and supervision of the U. S. Probation Office.

      All other conditions of defendant’s probation previously imposed shall

continue and remain in full force and effect until the expiration of her term of

probation.

      IT IS SO ORDERED this 1st day of December 2011.




                                             /s/Susan Webber Wright
                                             United States District Judge
